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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         UNITED STATES OF AMERICA,
                                   7                                                        Case No. 21-cr-00155-JD-1
                                                         Plaintiff,
                                   8
                                                    v.                                      SCHEDULING ORDER
                                   9
                                         CARLOS E. KEPKE,
                                  10
                                                         Defendant.
                                  11

                                  12          At the parties’ joint request, Dkt. No. 33, the Court sets the following case management
Northern District of California
 United States District Court




                                  13   deadlines.

                                  14                                     Event                                          Deadline
                                  15     Last day to file motion to transfer                                  April 1, 2022

                                  16     Last day to file motions to dismiss or sever                         April 25, 2022
                                  17     Last day for government to produce to defendant all materials        April 25, 2022
                                         required under Rule 16
                                  18
                                  19     Last day to file Rule 8 motions, motions for bills of particulars,   April 25, 2022
                                         or motions for discovery of jury composition records
                                  20
                                         Last day to file a motion to keep secret the names and identities    April 25, 2022
                                  21     of civilian witnesses
                                  22     Last day to file motions for determination pursuant to 18 U.S.C.     May 27, 2022
                                         § 4241(a)
                                  23

                                  24     Expert disclosures                                                   June 3, 2022

                                  25     Last day to file motions to suppress, motions alleging any           June 10, 2022
                                         defect in institution the prosecution, motions for disclosures of
                                  26     informants, or motions alleging selective prosecution
                                  27     Last day to produce Rule 16 defense reciprocal disclosures and       July 5, 2022
                                         to give Rule 12.1 and 12.2 defense notices
                                  28
                                            Case 3:21-cr-00155-JD Document 34 Filed 03/03/22 Page 2 of 2




                                   1                                   Event                                        Deadline
                                   2     Rebuttal expert disclosures                                      July 22, 2022

                                   3     Last day to file Daubert motions                                 August 5, 2022
                                   4     Pretrial conference                                              October 31, 2022, at 1:30 pm
                                   5                                                                      November 28, 2022, at 9:00
                                   6     Jury Trial                                                       am

                                   7          All dates set by the Court should be regarded as firm. Counsel may not modify these dates

                                   8   by stipulation without leave of court.

                                   9          IT IS SO ORDERED.

                                  10   Dated: March 3, 2022

                                  11                                                 ______________________________________
                                                                                     JAMES DONATO
                                  12                                                 United States District Judge
Northern District of California
 United States District Court




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